















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





		WR-8,315-07





EX PARTE JACK HARRY SMITH








ON SUBSEQUENT APPLICATION FOR WRIT OF HABEAS CORPUS 


CAUSE NO. 274702-C IN THE 230TH DISTRICT COURT

HARRIS COUNTY




	Per Curiam.  					

		

O R D E R 



	This is a subsequent application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure Article 11.071, § 5.

	Applicant was convicted of the offense of capital murder in July 1978.  The jury
answered the special issues submitted under Article 37.071 of the Texas Code of Criminal
Procedure, and the trial court, accordingly, set punishment at death.  This Court affirmed
Applicant's conviction and sentence on direct appeal.  Smith v. State, 676 S.W.2d 379 (Tex.
Crim. App. 1984), cert. denied, 471 U.S. 1061 (1985).  This Court denied Applicant's initial
post-conviction application for writ of habeas corpus.  Ex parte Smith, No. WR-8,315-05
(Tex. Crim App. Oct. 30, 1985)(denied without written order).  This Court then denied in
part and dismissed in part Applicant's first subsequent application.  Ex parte Smith, No. WR-8,315-06 (Tex. Crim. App. Sept. 10, 2003)(not designated for publication).  

	Applicant's instant post-conviction application for writ of habeas corpus was received
in this Court on January 16, 2009.  He presented five claims, two of which satisfied the
requirements of Texas Code of Criminal Procedure Article 11.071, § 5:  

Claim I		Mr. Smith's death sentence and execution violates the
Eighth and Fourteenth Amendments because he is a
person with mental retardation. 


Claim IV		Mr. Smith was denied his Eighth and Fourteenth
Amendment rights to reliable sentencing because the jury
at this capital sentencing proceeding lacked an adequate
vehicle through which to express its reasoned moral
response to the circumstances of the offense, Mr. Smith's
character and background, and Mr. Smith's moral
culpability. 


We remanded these claims to the trial court for consideration.  Ex parte Smith, No. WR-8,315-07 (Tex. Crim. App.  Mar.  11, 2009)(not designated for publication). 

 	On remand, the trial court held an evidentiary hearing on the mental retardation issue
only.  The trial court adopted the State's proposed findings of fact and conclusions of law
recommending that the relief sought on both claims be denied. 


	This Court has reviewed the record with respect to the allegations made by applicant. 
Based upon the trial court's findings and conclusions and our own review, we deny relief. 

	IT IS SO ORDERED THIS THE 26TH DAY OF JUNE, 2013.

Do Not Publish 


